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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION

YANG LIU,                          )
                                   )               Civil Action No.
   Plaintiff,                      )
v.                                 )
                                   )               JURY TRIAL DEMANDED
CENTRALPLAS, LLC,                  )
                                   )
   Defendant.                      )
                                   )
__________________________________ )

                        COMPLAINT FOR DAMAGES

      COMES NOW, Plaintiff Yang Liu (Plaintiff”) and files this Complaint

against Defendant Centralplas, LLC (“Defendant”), and shows the following:

                           I.     Nature of Complaint

                                         1.

      Plaintiff brings this action to obtain full and complete relief and to redress

the unlawful employment practices described herein.

                                         2.

      This action seeks declaratory relief, liquidated and actual damages, along

with attorney’s fees and costs, for Defendant’s failure to pay federally mandated

overtime wages to Plaintiff in violation of the Fair Labor Standards Act of 1938, as
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amended, 29 U.S.C. §201 et seq. (hereinafter the “FLSA”) during Plaintiff’s

employment with Defendant.

                           II.      Jurisdiction and Venue

                                            3.

      The jurisdiction of this Court is invoked pursuant to 29 U.S.C. §216(b), and

28 U.S.C. §1331.

                                            4.

      Defendant conducts business in this jurisdiction and is subject to specific

jurisdiction over the claims asserted herein. In addition, a substantial part of the

acts and omissions that give rise to Plaintiff’s claims occurred in this district.

Accordingly, venue in this Court is proper pursuant to 28 U.S.C. §1367.

                                 III.   Parties and Facts

                                            5.

      Plaintiff is a resident of the State of Georgia.

                                            6.

      Since May 2020, Plaintiff has been employed by Defendant as an equipment

maintenance worker performing manual labor.




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                                        7.

      Plaintiff is and has been an “employee” of Defendant, as that term has been

defined by the FLSA.

                                        8.

      Throughout his employment with Defendant, Plaintiff’s primary duty has

been the performance of non-exempt work, specifically manual labor.

                                        9.

      During his employment, Plaintiff has been paid on a salary basis, without

overtime compensation, calculated at one-and-one half times his regular rate, for

all hours he worked in excess of 40 in work weeks.

                                        10.

      Defendant is an “employer” as that term has been defined by the FLSA, 29

U.S.C. §203(d).

                                        11.

      Plaintiff has regularly worked an amount of time that was more than 40

hours in given workweeks and was not paid the overtime wage differential for all

hours he worked over 40 in workweeks.




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                                         12.

        Defendant is a private employer engaged in interstate commerce, and its

gross revenues exceed $500,000 per year and Defendant’s gross revenues exceeded

$500,000 in 2019 and 2020.

                                         13.

        Defendant knew or had reason to know that Plaintiff regularly worked in-

excess-of 40 hours in workweeks without overtime compensation.

                                         14.

        Defendant is governed by and subject to the FLSA, 29 U.S.C. §204 and

§207.

                                         15.

        Defendant failed to pay Plaintiff the overtime wage differential required by

the FLSA, 29 U.S.C. §207 on occasions that Plaintiff worked over forty (40) hours

in a workweek.

                                         16.

        Plaintiff has been a non-exempt employee entitled to overtime compensation

during his employment with Defendant.




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                                          Count I

                    Violations of the Fair Labor Standards Act.

                                            17.

       Plaintiff repeats and re-alleges each and every allegation contained in the

preceding paragraphs of this Complaint with the same force and effect as if set

forth herein.

                                            18.

       Defendant has violated the FLSA, 29 U.S.C. §207, by failing to pay

overtime wages for time that Plaintiff worked in excess of forty (40) hours in given

workweeks.

                                            19.

       Pursuant to the FLSA, 29 U.S.C. §216, Plaintiff brings this lawsuit to

recover unpaid overtime wages, liquidated damages in an equal amount, attorneys’

fees, and the costs of this litigation.

                                            20.

       Defendant knew or showed reckless disregard for the fact that its actions,

policies, and/or omissions violated the FLSA.




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                        IV.    Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court:

(A)   Grant Plaintiff a trial by jury as to all triable issues of fact;

(B)   Enter judgment awarding Plaintiff unpaid wages pursuant to the

      FLSA, 29 U.S.C. §207, FLSA § 6, 29 U.S.C. § 206(d), liquidated

      damages as provided by 29 U.S.C. §216, pre-judgment interest on

      unpaid wages pursuant to 29 U.S.C. §216, and court costs, expert

      witness fees, reasonable attorneys’ fees as provided by 29 U.S.C.

      §216, and all other remedies allowed under the FLSA; and,

(C)   Grant declaratory judgment declaring that Plaintiff’s rights have been

      violated and that Defendant misclassified Plaintiff as exempt from the

      overtime requirements of the FLSA, and that Defendant’s violations

      of the FLSA were willful; and

(D)   Permit Plaintiff to amend his Complaint to add state law claims if

      necessary;

(E)   Award Plaintiff such further and additional relief as may be just and

      appropriate.




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     Respectfully submitted, this 21st day of April, 2021.

                                            BARRETT & FARAHANY

                                            s/ V. Severin Roberts
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